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                                   STATEMENT OF FACTS


        Your affiant,                      , is a Detective with the Glendale, Arizona Police
Department, where I have been employed since 1994. I have been assigned to the Patrol Bureau,
Special Investigations Unit, and Special Operations. In 2007, I was assigned to the Federal Bureau
of Investigation (FBI) Joint Terrorism Task Force (JTTF). As such, I am a cross designated sworn
Task Force Officer of the United States who is empowered by law to conduct investigations of and
to make arrests for offenses. I am currently assigned to the Phoenix Field Office in Phoenix,
Arizona. My duties for the JTTF include investigating acts of domestic terrorism. I have been the
lead agent for investigations targeting individuals and groups engaged in acts, conspiracies, plots,
plans, and various violations of federal law aimed at overthrowing or influencing federal or state
governments, policies, and/or civilian populations by way of threats, force, or violence. I have
considerable experience in all aspects of conducting such investigations to include, utilizing
physical and electronic surveillance techniques, writing and executing search warrants including
those related to various technologies. In addition to my regular duties, I am currently tasked with
investigating criminal activity that occurred in and around the United States Capitol on January 6,
2021. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate
were meeting in separate chambers of the United States Capitol to certify the vote count of the
Electoral College of the 2020 Presidential Election, which had taken place on November 3, 2020.
The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30
p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.
        As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.
        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.
      Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
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Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol
building without authority to be there.
        On January 27, 2021, FBI received a tip that JASON TASKER’s mother was showing
videos taken by TASKER inside the U.S. Capitol on January 6, 2021 to her friends. Another tip
identified TASKER in publicly available video from January 6, 2021. In the video, TASKER is
talking to someone on the phone and says that he was one of the first people inside the Capitol.
IMAGE 1 below is a screenshot from the reported video.




       IMAGE 1 – TASKER on his phone on the East Capitol Steps on January 6. 2021.

        On February 3, 2021, an FBI agent conducted an interview with one of TASKER’s friends
in Denver. The friend told agents that TASKER advised that TASKER was going to “do tourist
stuff” in Washington D.C. about a week before January 6, 2021. TASKER provided the friend
with his flight information that included a return date of January 7, 2021 on Frontier Airlines.
Legal process to Frontier Airlines confirmed that TASKER flew from Denver to Washington, D.C.
on January 5, 2021 and returned to Denver on January 7, 2021.

       On April 27, 2021, FBI agents interviewed a family friend, who told agents that TASKER’s
mother had shown them pictures of TASKER at the Capitol. The friend advised that TASKER’s
mother bought TASKER the plane ticket to travel to Washington, D.C. The family friend was
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shown pictures of TASKER at the Capitol, and the friend identified him wearing a puffy jacket as
shown in IMAGE 1.

         On May 4, 2021, FBI agents spoke with one of TASKER’s acquaintances in Phoenix,
Arizona. The acquaintance told agents that TASKER showed the friend selfies TASKER took
inside the Capitol on January 6, 2021. TASKER told the friend that the trip to Washington, D.C.
was a Christmas gift from his mother. Consistent with this information, legal process to Frontier
Airlines confirmed that TASKER’s mother (whose name is known to your affiant) paid for the
airline ticket on December 20, 2020.

         Open-source video, U.S. Capitol security cameras, and body-worn cameras captured
images of the individual identified as JASON ROBERT TASKER of Phoenix, AZ participating in
the riot at the U.S. Capitol on January 6, 2021.

        TASKER attended the “Stop the Steal” rally at Ellipse Park before marching to the west
side of the Capitol. At the rally, TASKER was wearing sunglasses and a red beanie with the Under
Armor logo on it as shown in IMAGE 2 below.




                      IMAGE 2 – TASKER at the “Stop the Steal” rally.

         TASKER appeared on CCTV around 1:58 p.m., when he climbed onto the Northwest
Stairs, as shown in IMAGE 3 below. Another rioter helped TASKER onto the stairs. While on the
stairs, TASKER talked on his phone, as shown in IMAGE 4. This happened before rioters
breached the police line in front of the Northwest Scaffolding. At some point between the rally
and climbing onto the Northwest Stairs, TASKER removed his jacket and put on a white gaiter.
Under his jacket, TASKER wore a gray short-sleeve T-shirt.
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                  IMAGE 3 – TASKER climbs onto the Northwest Stairs.




                IMAGE 4 – TASKER making a call on the Northwest Stairs.

        After he finished his phone call, TASKER helped lower a bike rack down as shown in
IMAGE 5. He then climbed down to the Northwest Lawn. TASKER used his phone to take a video
or picture on the Northwest Lawn as shown in IMAGE 6.
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IMAGE 5 – TASKER helps hand down a bike rack to climb up the side of the Northwest Stairs.




    IMAGE 6 – TASKER using his phone to take a video or photo on the Northwest Lawn.
        On the Northwest Lawn, TASKER joined a group of rioters that surrounded Capitol Police
officers as shown in IMAGE 7. TASKER followed the officers around the Capitol Building,
yelling at them as shown in IMAGE 8. In an open-source video, TASKER yelled at officers, “All
of you are dismissed, go home!”
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IMAGE 7 – TASKER films on his phone as rioters push U.S. Capitol Police officers toward the
                     Capitol building on the Northwest Lawn.




 IMAGE 8 – TASKER follows Capitol Police officers around the Capitol Building yelling and
                              filming on his phone.
       TASKER arrived at the North Screening Entrance on the East Side. Capitol Police officers
were stationed behind bike racks. TASKER screamed at the officers that blocked the way as shown
in IMAGE 9. Within a few minutes, the rioters broke through the barriers. Around 2:17pm, CCTV
captured TASKER enter the East Plaza of the Capitol as shown in IMAGE 10.
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 IMAGE 14 – TASKER grabs onto an officer            IMAGE 15 – TASKER grabs a second
     as he attempts to breach the line.           officer during his attempt to breach the line.

        After TASKER’s second lunge, an officer deployed OC spray that caused TASKER to
retreat as shown in IMAGE 16. TASKER then appeared to struggle with another officer stationed
outside the door as shown in IMAGE 17. A rioter, who was standing inside, refused to go outside,
and told officers he would not go “out there” after he watched TASKER attack officers.
Immediately after TASKER was ejected from the building, officers stopped directing rioters
through the Senate Carriage doors and closed them.




  IMAGE 16 – An officer uses OC spray on           IMAGE 17 – TASKER struggles with an
  TASKER inside the Senate Carriage doors.         officer outside the Senate Carriage doors.

        TASKER walked away from the Senate Carriage doors toward the East Plaza. TASKER
lost his hat during his struggle with police, and his sunglasses disappeared. Around 2:26pm,
another rioter handed TASKER milk that he used to wash the OC spray out of his eyes as shown
in IMAGE 18.
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            IMAGE 18 – TASKER pours milk in his eyes after being OC sprayed.

        Around 2:30 p.m. on the East Plaza, TASKER pulled a coat out of his backpack and put it
on as shown in IMAGE 19. TASKER walked toward the stairs to the Capitol building. TASKER
stopped to yell at police officers as shown in IMAGE 20, before he climbed the east steps toward
the building.




  IMAGE 19 – TASKER putting on a puffer              IMAGE 20 – TASKER yells at police
       jacket with orange lining.                        officers on the East Plaza.

        TASKER joined the mob on the East Stairs around 2:43 p.m. TASKER reappears on CCTV
at 3:02 p.m., when he entered the Rotunda Doors as shown in IMAGE 21. He pulled out his phone
and appeared to film as he entered the East Foyer.
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                 IMAGE 21 – TASKER enters the Rotunda Lobby at 3:02 p.m.

        TASKER marched through the East Foyer to the Rotunda. Inside, TASKER used his phone
to take pictures and/or photographs. As police formed a line to direct the mob out of the Rotunda,
TASKER went to the police line and confronted officers as he filmed as shown in IMAGES 22
and 23. He yelled at officers about pepper spray as he walked down the line.




  IMAGE 22 – TASKER films the police line            IMAGE 23 – TASKER yells at officers
             in the Rotunda                             while filming in the Rotunda
        TASKER remained in the Rotunda until 3:11 p.m. He returned to the East Foyer and then
exited the building at 3:13 p.m. as shown in IMAGE 24. He pulled his phone out, appearing to
film or take photos again as he left the building.
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          IMAGE 24 – TASKER films on his phone as he exits the Capitol building.

        After TASKER left the Capitol building, he remained on the stairs and made a phone call.
In third party video, TASKER can be overheard saying, “I was like the first person in Momma.”
IMAGE 1 is a screenshot from that video.

       TASKER remained outside the Rotunda Doors for over an hour. During that time,
TASKER changed from the Eddie Bauer Puffer Jacket to an orange and gray jacket. Earlier in the
day, TASKER wore both jackets as shown in IMAGE 25.




            IMAGE 25 – TASKER wearing both jackets he brought to the Capitol.

         While wearing his second jacket, TASKER flipped off officers through the doors while he
said, “fuck you” as shown in IMAGE 26. IMAGE 27 shows TASKER when he confronted another
rioter about harassing a female rioter. TASKER argued with the other rioter and asked, “Where’s
your mace?”
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          IMAGE 26 – TASKER flips off officers behind the closed Rotunda Doors.




        IMAGE 27 – TASKER confronts another rioter about bothering a female rioter.

       Sometime after 4:30 p.m., TASKER watched as another rioter played then-President
Trump’s video that told rioters to go home. After that rioter left, TASKER approached the Rotunda
Doors a final time pointed at officers and said, “fuck you, fuck you, fuck you, you’re cool, fuck
you, I’m out. 1” This is shown in IMAGE 28.




1
 This is a quote from the 1998 movie Half Baked, starring Dave Chappelle and Jim Breuer. One
of the characters says this phrase as he quits his job.
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under the laws of the United States, by any department, agency, or instrumentality of the United
States or by an officer or employee thereof. This includes the Joint Session of Congress where
the Senate and House count Electoral College votes. See 18 U.S.C. § 232(3). For purposes of
Section 231 of Title 18, civil disorder means any public disturbance involving acts of violence by
assemblages of three or more persons, which causes an immediate danger of or results in damage
or injury to the property or person of any other individual. See 18 U.S.C. § 232(1).
        Your affiant submits there is also probable cause to believe that TASKER violated 18
U.S.C. § 111(a)(1), which makes it a crime to forcibly assault, resist, oppose, impede, intimidate,
or interfere with any person designated in section 1114 of Title 18 while engaged in or on
account of the performance of official duties, where such acts involve physical contact with the
victim or the intent to commit another felony. Persons designated within section 1114 of Title 18
include federal officers such as USCP officers and include any person assisting an officer or
employee of the United States in the performance of their official duties.
        Your affiant submits that there is probable cause to believe that TASKER violated 18
U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do; and (2) knowingly, and with intent
to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or
grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the
Secret Service, including the Vice President, is or will be temporarily visiting; or any building or
grounds so restricted in conjunction with an event designated as a special event of national
significance.
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        Finally, your affiant submits there is also probable cause to believe that TASKER
violated 40 U.S.C. § 5104(e)(2)(D) & (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this __28th___ day of ______June________ 2024.


                                                                      2024.06.28
                                                                      13:29:30 -04'00'
                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE
